83 F.3d 416
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Scott C. SCHIRMACHER, Plaintiff--Appellant,v.McDONNELL DOUGLAS CORPORATION, Defendant--Appellee.
    No. 95-2921.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided April 22, 1996.
    
      Scott C. Schirmacher, Appellant Pro Se.  William Christopher Edgar, Jo Ann Peele, BRYAN, CAVE, McPHEETERS &amp; McROBERTS, Washington, D.C., for Appellee.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his complaint filed under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.A. §§ 2000e to 2000e-17 (West 1994).   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Schirmacher v. McDonnell Douglas Corp., No. CA-95-1124-AW (D.Md. Sept. 18, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    